Case 18-55697-lrc              Doc 382    Filed 05/28/21 Entered 06/01/21 09:19:12       Desc Main
                                         Document      Page 1 of 36
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        UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT
                                                -)•


  CASSANRA JOHNSON-LANDRY
  DEBTOR                                                            BRC 18,-55697 LRC.



  SUBMISSION: CREDIT ONE BANK ACTIONS REGARDING DEBTORS SPOUSE TO
  ikrirrEmPT TO INVOLVE DEBTOR/OVERPAYMENTS NOT MADE BY DEBTOR
  AND OR SPOUSE, POSSIBLY BEING ISSUED TO OTHER PARTIES FOR
  lirt4ANCIAL GAIN


   CASSANDRA JOHNSON-LANDRY, DEBTOR, currently submit communication to
   involving Credit One Bank which, is not associated with Debtor's Bankruptcy. It appears
   there has been an attempt to utilize Debtor's Spouse to sign a created affidavit, attesting to
   fraudulent charges, which Debtor's spouse did not sign. Also, it was reported Debtor
    reported the Credit One M/C as being stolen, lost or damaged which, is not true,
   its stated previously, Debtor's Spouses card was suspended due to NUMEROUS and
   SUSPICIOUS PAYMENTS. Per Debtor's Spouse's permission who is the PRIMARY eard
   bolder, communication was sent to Credit One Bank explaining the situation. Debtor and
   Debtor's Spouse's concern was the excessive number of payments made and how was this
   occurring, when the payments were not listed on Debtor's Spouses Bank Account.
   (EXHIBIT A)
   The forms which were sent to the Debtor's spouse were not related to the suspicious
   payments. There were withdrawals from Debtor's Spouses account without permission or
   confirmation. Both questioned Credit One Bank who were the over payments sent to.
   instead, Credit One charged all of the payments which were not made by Debtor Spouse or
   on behalf of Debtor, nor deducted from the designated account, back Debtor's Spouse's
   PrI"C account which has a credit limit of 400.0D. On May 27, 2021 Debtor's Spouse's
   balance was -700.00 which is TOTAL SET UP AND UNTRUE
   Debtor's Spouse provided permission for Debtor to speak with Destiny at Capital One
   htvestigation division. She referenced the uploaded P.0 Report which was placed into the
   Debtor's Bankruptcy File. She asked Debtor is she has ever, had a Credit One Account,
Case 18-55697-lrc     Doc 382    Filed 05/28/21 Entered 06/01/21 09:19:12           Desc Main
                                Document      Page 2 of 36




 which Debtor reported to as no.•Debtor did not provide a copy to Credit One due to
 Debtor's Spouses credit issue not being associated With Debtor's Bankruptcy. This as and
 is a situation of utilizing associated contacts to obtain information when exposure such as
 possible money laundering takes place. UNDER NO CIRCUSMATANCE WILL the
 Debtor be the Scapegoat.
 If the requested investigation taken place, as a requested and all claims validated this
 situation would POSSIBLY not be occurring. This is the norm and has taken place for too
 long, Again, regardless of debtor, not possessing a Bar Number in the areas of Bankruptcy
 or Securities/Exchange this is so VERY OBVIOUS. The stealing of money from Debtor's
 estate was even tnentioned by approximately 2 attorneys with Bar Numbers.
 In closing, during the December 8, 2020 hearing, the presiding judge basically stated, the
 Debtor's claims of fraud, lacked merit as additional evidence was not presented. Although
 tins state is untrue, as the Trustee was in possession of all Police Case Numbers and
 Reports, the presiding judge stated she relied on the Trustee based on his business
 judgment in good faith and conducted a reasonable investigation before his conclusion of
 abandonment and more. Basically, the liability was placed onto the Trustee and his
 Attorney. As, Debtor was aware there was no investigation and if I were the presiding
 judge, I would have noted the same. As it pertains to any Bankruptcy case, ALL Trustees
 and Legal Counsel MUST complete and fulfill their ethical roles and duties to the fullest.
 (EXHIBIT•B)


 289 o .May 2021




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Case 18-55697-lrc     Doc 382     Filed 05/28/21 Entered 06/01/21 09:19:12            Desc Main
                                 Document      Page 3 of 36




     UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT

                             CERTIFICATE OF SERVICE


 I, CASSANDRA JOHNSON-LANDRY, Debtor currently submit the following document:
 SUBMISSION: CREDIT ONE BANK ACTIONS REGARDING DEBTORS SPOUSE TO
 ATTEMPT TO INVOLVE DEBTOR/OVERPAYMENTS NOT MADE BY DEBTOR
 AND OR SPOUSE, POSSIBLY BEING ISSUED TO OTHER PARTIES FOR
 FINANCIAL GAIN. Listed Parties dl be served via the USPS. Debtor is over the age of
 18 years. In addition, Debtor request all parties on the Matrix to be included on the court's
 distribution list.


 OFFICE OF THE PRESIDENT
 FRAur) SPECIALIST
 CREDIT ONE BANK
 P.O. BANK 95573
 LAS VEGAS; NEVEDA 89193-8873


 •S. GREGORY HAYS
  CHAPTER 7 TRUSTEE
  2964 PEACHTREE ROAD, SUITE 555
  ATLANTA, GEORGIA 30305



 HERBERT BROARDFOOT II ESQ.
 LEGAL COUNSEL FOR CHAPTER 7 TRUSTEE
 2964 PEACHTREE ROAD, SUITE 555
 ATLANTA, GEORGIA 30305



 28 of May 2021




 CASSANDRA        INSON-L          , PRO SE


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Case 18-55697-lrc   Doc 382    Filed 05/28/21 Entered 06/01/21 09:19:12   Desc Main
                              Document      Page 4 of 36




                    EXIIIBIT A
Case 18-55697-lrc       Doc 382      Filed 05/28/21 Entered 06/01/21 09:19:12                Desc Main
                                    Document      Page 5 of 36




                                      IVY T. LANDRY
                                       P. 0 Box 1275
                                     Grayson, Georgia 30017
                                      678.860.2254

 Credit One Bnk
 P.O. Bank 95573
 Las Vegas, Neveda 89193-8873

 May 26, 2021

 Ref: CURRENT ACCOUNT ENDING IN 7617 WHICH WAS THE PREVIOUS ACCOUNT
 ENDING IN 0187.

 Credit One Bank Representative,

  am in receipt of your communication datecl May 15,2021 which, was received on May 25, 2021
 delivered to P. 0 Box 1275, Grayson, Georgia 30017. Your communication stated you received
 ray request for a replacement card as the result of a Lost /Stolen Report or because you notified Us
 that the card was in operable. I did not inform you the card was Lost, Stolen, Damaged or
 inoperable to the best of my knowledge. Your company sent a new Card on your behalf
 (ATTACHMENT 1)

 There have been several missed cards by to me by your bank, However on May 26, 2021 I did
 speak to your dispute/fraud department and notified the individual I did not have the full capacity
 to discuss the issue, however documentation was sent. Per uploaded documentation, I noted the
 hifortnation sent to me, requesting me to fill out a generated fonn, requesting me to list fraudulent
 charges was not the issue. This form was Non-applicable.

 AGAIN, the concern is payments•were being made to the account, which we did not make. The
 credit limit on the current account ending in 7617 is only 400.00 Previous account number ending
 ia 0187 only had a credit runit of 400.00. We are meaning myself and spouse uploaded several
 payments which were not made by us. AGAIN, if these payments:

    L Who received the overage checks?
    2. There second account ending in 0817current1y still exists and someone is utilizing it
Case 18-55697-lrc        Doc 382    Filed 05/28/21 Entered 06/01/21 09:19:12              Desc Main
                                   Document      Page 6 of 36




  We are MONITORING VERY CLOSELY. In addition, the referred Lost/Stolen Report you are
  referring to is my wife's report which is connected to her BRC 18-55697. It appears this report is
  being used to justify ALL illegal activity which has taken place in her personal and commercial
  bankruptcy. Various accounts are being used to filter money through, We have traced each
  Occurrence of money collection 'in addition, to the amounts, which is ASTRONOMICAL sit
  relates to my wife's PERSONAL BANKRUPTCY.

  This includes the hidden adversarial actions, whith are not on public information, which were not
  PILED on my wife's behalf and abandonments to avoid incriminating colleagues, collections of
  outstanding debts owed to her businesses, the illegal theft, and sales of ALL REAL property both
  commercial and person. Sad to say, the filing of 2 accident claims, which she is still suffering
  from.

 •This money was being u,sed to pay others off, to damage her due to being outspoken and.eposing
  UNCLEAN HANDS. Sad to say, she is still suffering from the trauma of the unlawful behaviors
  of others. I am providing this informing again, not expecting any level of sympathy or empathy,
  however, to provide YOU with a betterunderstanding.

  In closing, under no circumstance will I be apatt of this mess with whatever relationships you may
  have with the BRC. Bottondine, we know what the hidden agenda is and what appears to be taking
  place. This DOES NOT PERTAIN TO FRADULUENT CHARGES, but ACCOUNT
  PAYMENTS NOT MADE BY US SO, SO WHO RECEIVED THE PAYMENT OVERAGES.
  My suggestion is maintaining your banks reputation and separate business from personal

  My apologies if lam incorrect but, in the caSe the actions are -HIGHLY obvious. Please submit all
  communication Via email as requested moving forWard.

  (ALL PREVIOUS COMMUNICATION SUBMI1 IED AND SIGNED ON MY BEHALF BY
     WIFE C SSA RA JOHNSON-LANDRY WAS AUTHORIZED BY IVY. T LANDRY),




  678 860.2254




  C:c: CFPB and Others



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       Case 18-55697-lrc               Doc 382              Filed 05/28/21 Entered 06/01/21 09:19:12          Desc Main
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    P.O. BOX 98873
                                                                                     Credit()L
  • LAS VEGAS.NV         193-8873
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  •S-:SFMCC810 L-0032AL1
   PE3NB700200587 -665373.135100588

   IVY: LAN DRY
   PO BOX 1275
   GRAYSON-GA 30017-0024




May 15, 2021



AccouritNurnber Ending la: 7617


Dear NY LANDRY:

We received yoUr request for a replacement card as the result of a Lost/Stolen Report, or because you notific-id
that your card is ineperable. You requested that the replacement card be sent to an alternate address, viihiCl•
different from the home address on file for your account.

Your card is being mailed to the alternate address that you provided and should arrive soon. Please note Mat              oVE
have not changed the address of record on your account, and the alternate address is only being used For
unique request. All other correspondence from Credit One Bank will continue to. be sent to the home addre,ss              NE
already have on file.

.If you would like to update your address or if you have any questions, pie* Contact us at (877) 825-3242,
 6:00.a.m. to       p.m...Monday through. ffriday and 6:30 a.m.: to 500 P.M.. on .'Saturday, Pacific Standard .Tirari::

Sincerely,


Credit One Bank, N.A.
Customer Service Department.




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                               1)   nox '111831, LAS VI6         , NV   1   8.: ,k
Case 18-55697-lrc      Doc 382     Filed 05/28/21 Entered 06/01/21 09:19:12   Desc Main
                                  Document      Page 8 of 36




         CAPITA .ONE PAYMENTS PREVIOUS ACCOUNT ENDING
                     PAYMENTS:MADE AS REFLECTED:


    ATTENTION; OFFICE of THE PRESIDENT
    ATTENTION: DESTINEYci


    ACCOUNT WAS OPENED IN 1/.2..020.:
    I:1620(159.5 DID IOT MAKE THIS PAym.ENT,..:No:REca0TspEprEti
    FROM ACCT)
    4.8.20 (109..:95. 0) NOT mAKIE.1:04-pAYEW.:N.o.::kE(Ew ppOcTEID FROM
    ACT)
    5.8.. 20 75.00 R 406925
    6.11:20. 159.95 R 184031
    744.2.0 84.95 1.3.751700
    7.31.20 159.95 R 369775.
    8.6-20 209.95 g:9.6M
    8,2129 209.95 R 376411
    9:22..20 150.00 R.392986
    9.29,20 (1..34;9 . ))113..NoTmAlva:TH s • pAymENTNO.-KEcETT.DEpOCTEifs
    F.KONIA0070..
    10.22.20 .55.00 (R.) 677721
    11,10M21 (400.04 DID NOT MAKE THIS PAYMENT NO::,REGEIPTDEDIXTED
    FROM ACCT)
    11.0920:-1.09.5. R754986
    11..1720 94.95 Fi .36423.6
    12.08.20 159.95 .R. 346175;
    12.14.20 259:95 R.88913.2
    1.5.21 100.00 R 233408
    1.6.21 (t.:50,00..O.D.,lipT MAKE THIS PAYMENT Nbi:RWEIPTbEDUtTE6i#g)*
    MY ACCOUNT)

                                                                         11 Pa g e
Case 18-55697-lrc    Doc 382    Filed 05/28/21 Entered 06/01/21 09:19:12   Desc Main
                               Document      Page 9 of 36




   2..1.21 •50.00 R417714•
   2.1721 348.14 R 180080
   3.18.21 11-5.06R 730126
     22.                                       0$5
   3.31.21 209.95 R445530
   4.10.21 209.95 (DID NOT MAKE PAYMENT BUT WAS NOT TAKB-N„FROM.oilli,
   ACCOUNT)
   4.8.21 209.95 (DID NOT MAKE PAYMENT BUT WAS NOT TAKEN FROM OUR
   ACCOUNT)
   420.21 209.95 R NO CONFIRMATION SCHEDULED
   4,28.21 100.00 R 425603
    5.20.21 189.93 R 905428



   PAYMENTS NOT MADE BY US AND WERE NOT
   DEDUCTED FROM ACCOUNT THEREFORE SHOULD NOT
   BE ADDED BACK INTO THE ACCOUNT. (




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  Your Payment Has Been Processed
  1 message

  Credit One Bank <dohOtreOlygcreditonerriali,corn>                                                                 Sat, Jan 2, 2021 at 10:18 MI
  Reply-TO: Credit One Bank <Support-b455s0ebftya92auhtbrmbit56y073@creditonemailxorn>
  To: ivylandly0@grnal1.00rn




                     SaturAiza f ,                                                                               Cm,.•




                 CreditOne
                        0     'INK
                                                                      Your Payment Has Been Processed
                                                                                                                         Visa — 603




                       Dear IVY LANDRY,

                       Your payment of $100.00 has been processed.


                       Your reference number for this payment is 02JAN2 21-0000233zI-08.




                 Crf4titpte
                        Do not reply directly to this automated email Please contact Customer Service at 1-811 826-3242 if
                        you have any-qUestions regarding YouraCobtint.

                        Impoitant Informaticin frOin redit.One Bank:

                       You are receiving this email because you are a tredit One Bank card 01040er and. this la an important.
                       e0count CorneritinicatiOri regarding your payinent..

                        Your account information is included above to verify that Credit One Bank is the sender of this email.
                        We will never ask for sensitive inferrnation such as your password, Social Security number; or account
                        number in an email, Click here to read more about account security and fraud prevention.

                        Credit One Bank is coMmitted to prOviding Meaningful privacy protection ler our card rnernbers.-.Fer
                        information on 6r OriVaCy       er heini to„.contact us, please visit:our websiteat OreditOneBanktcorrt,

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  Your Payment Has Been Processed
  1 message

  Credit One Bank <doncitreply@treditonernail.com>                                                                                                                      Fri, Jan 29, 2021 at 10A1 AM
  Reply-To: Credit One Bank <support-b455s0ebftyu92aulltbrrnbzt56yg73@creditonemail.corn>
  To: ivylandry0@gmail.com




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                                              CrechtOne
                                                    RANK
                                                                                                  Your Payment. Has Been Processed
                                                                                                                                                     Visa   8693




                                                    Dear IVY LANDRY,

                                                   Your payment of $50.00 has been processed.

                                                   Your reference number for this payment is 29JAN2021-0000417714.


                                                                                                 Sign Ii




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             Gmait                                                                                             fandry <kryiandryn@gmaiLcorn>


  Your Payment Has Been Processed
    message

  Credit One Bank.<doriotrePly@OreditOnernail,torn>                                                                 11/Ion, Feb 15, 2921 at 026 i!‘.1\4
  Reply-To: Credit One Bank <support-bfekhoebftyu92auhtb bzt5eyge0@creditoilernail.por
  Tot ivytandiy0@gmail.cam




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                  CreditOne
                    HANK
                                                                       Your Pay en Has Been Processed
                                                                                                                            Visa — 6693




                        Dear IVY LANDRY.,

                        Your payment of $348,14 has been processed,

                         Your reference number for this. payment is 15FEB2021-0000180080.




                  CreditOhe
                    RANK



                         Po riPtreplydirettiy to this. automated 0 -101,,Please contectOttstrimer Service et 1477.-926-3242if
                         you have anyAllettionwregardingl•yoUr tiOcodlit

                         Important Information from Credit One Bank

                                           . email. because :you are a: bredit
                         You.are receiVing thiS                             .     e       nk card member and this is an important
                         account communication regarrilKg your ppyrnent,

                         Your account infOrmationts included above to verify that Credit One Bank is the sender of this email:
                         We will never ask for sensitive information such as your password, Social Security nuMber, or account
                         number in an entail Click hare to reed more about account security and fraud prevention.

                             Credit One Bank is committed to providing meaningful privacy protection for Our cardCredeunemanK.corn
                                                                                                                       members.For   .
                                                                                         please visit our ykiebsite at
                                                                    rhow to contact  us,
                               information on our Privacy Policy Or                                                                                       1/2
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   INNIONNsiotia   N
                                                                                                                                                         ndry 4ivylandry0@,gmaii.corn>



   Your Payment Has Been Processed
   1 message

   Credit One Bank <dOnotreply@creditOnernail:com>                                                                                                       Wed, Mar 17, 2021 at.1.0:17 AM
   Reply-To: Credit One Bank <support-bfg82rosiebftyug2auhtbrmbzt56yg69@creditoriem0.corn
   To: ivylandly0@gmail.com




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                                               One'
                                         Credit-
                                           8 A N X
                                                                                                     Your Payment Ha                 een Processed
                                                                                                                                           Visa — 0187




                                               Dear:IVY LANDRY,

                                               Your payrnent of $115.06 has been processed:

                                               Your reference number for this payment is 17MAR2021-0000730726.:



                                                                                                     Sign in




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  Your Payment Ras Been Processed
    message

  Credit One Bank <donotreply@creditonernaiLeorn>                                                                   Fri, Mer19, 20?-1 at 3:17 PM
  Reply-To: Credit One Bank <support-Vg82webftyu92auhtbrrabzt56yg69©creditonernail.corn>
  To: ivylaridry0@grnaii.00m



                   ;




                 CreditOne
                        BANK
                                                                       Your Payment Has Been Processed
                                                                                                                         Visa.— 0187


                                                               „Joyzoi(0-14-'
                       Dear IVY LANDRY.,
                          .              . .        .      ,
                       --Yout'.,00yrrioht of $1,50.95 has been              processed.

                       Your reference numbe for this payment is 19MAR2021-0000977914.




                 CreditOne
                        BANK



                        Po not reply direetlY to this a6tomated email. Please contactCyStOmar. Service et 178774     -3242:if
                        You have any questions regarding your aCcOnnt.

                        Important Information from Credit One Bank

                       You ere *eking this ernail becaUSe you ere a Credit One Bank, card fr,IPM§eraPd..ti-ii§ I§ an Important
                       account communication regarding your payment.
                        Your account information is included above to Verily that Credit One Bank is the sender of this email
                        We Will never ask for sensitive information such as your password, Social Security number or account
                        number in an email. Click here to reed more. about accouritsectirity and fraud prevention.,

                        Credit One Batik is committed to providing meaningful privacy protection for Our card members For
                        information on our Privacy Policy or how to contact as,- please visit our website at CreditOneBank,corn.

Nips:tin iii1l.g3o9le.cornfmaitiu/5711c=142804b6f40&view=pt&aearen=all&permthid=threacl-f%3A1694689111418046012&sirtipl=msg-f%3A16846891114 ... 1(2
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                                                                                                                                                       ivy. iancfry --IvylandryfPggn-L, ii.com>



   Your Payment Has Been Processed
   1 message

   Credit One Bank.donotreply@creditonernail,com>                                                                                                              The, Mar 30, 2021 at 1:28PM
   Reply-To: Credit One Bank <support-bfg82weiifty1.182auhtbrmbzt56yg69@creditonemail.COrn>.
   To: ivylandry0@gmail.corn




                                                      .       ao, 2021                                                                                 cr,ro




                                         Credit B.ANK
                                                                                            Your Pay                 Has Beèrt Processed
                                                                                                                                           Visa— 0187




                                                Dear IVY LANDRY,

                                                Your payment of $209.95 has been processed.

                                                Your reference number for this payment is 30MAR202 009.0445530,



                                                                                            Sign 1




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5(27/2021                                                     Gmail - Yeur Payrnent Has Been Scheduled




               mail                                                                                     ivy landry <iVylandey0@grnail.com



  Your Payment Has Been Scheduled
  1 menace

  Credit One Bent( .<donotreplY@credit.onerriail.com                                                               Sat, Apr 17, 2021.at 8:29 PM
  Reply-lb: Credit. One Bank <support-bfdcw8y1OftyL192au.dptxd.bzt56ygav©creciitonernail.porn>
  To; ivylandryOggmaii.corn




                                                                                                                etc.,di ",)3      Q:Jrn




                Crveitpne                                             Your PaymEnt Has B



                       Dear IVY LANDRY,

                       Your payment of $209.95 has been scheduled for 4/18/2021.

                       If you wish to cancel this payment, you can clo so by signing                               to your
                       account before 11:59 p,m. (Pacific Time) on 4/17/2021.




                 CreditOne
                       BANK



                      :to not rePly.ditectiY to this automated email, Please conta6t.CystornerBervice at VB77-82 3 42 if
                       you have any questions regarding your acCoOnt,

                       Important Information from Credit.One Bank

                       You ars'reCeiving:thisecTaiI beceiiie yOu are a Credit One Bank card member and this is an important
                       account communication regarding yoUrschedtiled: payment,

                       Your account information is included above to Verify that Credit One Bank is the sender of this email,
                       We will never ask for .sensitive information such as your pass*ord, Social Security numberi or account
                       minter in an emelt. Click here to read more abOuraccount security and fraud prevention.
                       Credit One Bank is comrriitted,t0 ProVidinj meartingfulorivacy protection for out card mernbers..For
                       information on our Privacy Policy or hoi:mto'COtitact us please Visit our webaiki.at PreOitOneBank,corn_



                                              (2021 CrOdit One Bank: NA, AI! P.16111 R4sitt.NOd t,,letitter FDIC
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                                                         Pr) Box 96873 Las Vegas, NV 8919-3-9873
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            Gmail                                                                                                                                 ivy lanthy <ivylandry0@gmail.com>



  Your Payment Has Been Processed
  1• message

  Credit One Bank <donotrepiy©creditonemail.corn>                                                                                                       Tue, Apr 27, 2021 at 11:41 AM
  Reply-To: Credit One Bank <support-bfdqy8ybilyu92auhtbrmbzt56yg9d@cred onemail.corn>
  To: ivylandry0agmail.com




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                                                                                                                                       Visa — 0187




                                              Dear IVY LANDRY

                                              Your payment of maw has been processed.

                                              Your reference number for this payment is 27APR2021-0000.425603.


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   Your Payment Hasl Been Processed
   1 message

   Credit One Bank <donotrepty@creditQnemaii.cpm>                                                                                                              Thu, May 7, 2020 at 12:16 PM
   Reply-To: Credit One Bank <support-b4tvccybftyu92auhtbrmbzt56y 1.5@creditonemaii.Corn›.
   To: ivylandry0@grnai1.corn




                                            Cirgiit One*
                                                     K                                         Your .Payment Has Been Processed
                                                                                                                                              Visa —6693




                                                  Dear IVY LANDRY,

                                                  Your payment of $75.9Q has been. prOces§ecI.

                                                  Your reference number for this payment is. 07MAY2020-000040692.5.




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   Credit One Bank .<Oonotreply@Oreditonemail.cem>                                                                                                                Thu, May 20, 2021 at 5:21 PM
   Reply-To: Credit One Bank <support-bir9vgybftyu92auhibrmPg56ygbw@preditonemaiLcOrn>
   To:livylandry0@gmail.com




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                                                  Dear IVY LANDRY,

                                                  Your payment of ma 83-has been processed.

                                                  Your reference number for this payment is 20MAY2021-0000905428,



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  Your Payment Has Been Processed
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 Credit One Bank <donotreply@creditonemail.corn>                                                                       Tue. Jun 16, 2020 at 9:07 AM
 Reply-To: Credit One Bank •suppori-154js48yOftyu92auhibrrnbzt56ygb8@ereditonernall.ourn>
 To: ivylanciryOggmail.corn




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                       Dear IVY LANDRY,

                       Your payment of $159,95 has been processed.

                       Your reference number for this payment is 16JUN2020-00001 84031.


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                       Do not rePly directly to this etitomated emal, Please coritaCt Customer- Service at 1-877-825-3242 if
                       you have any questions regarding your account:

                       important inforination from CreditOrie Bank

                       You are rebeiving this email beasuse you are a Cradi          ne Bank   rd 'mernher arid this is an iMportant
                       account communication regarding your payment.

                       Your account information is included above te verify that Credit One Bank is the sender of this email.
                       We will never ask for sensitive information such as your password, Soda! Security number, be account
                       number in• an email:Click here to read more :about account seCurity and fraud preventlen.

                       Credit One Bank- is committed to providing meaningful privacy protection for our card members. For
                       information on our Privacy Policy or how to contact us, please visit our website at CreditOneaank.corn:
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             Gmail                                                                                      ivy landry <ivylandry0@grnail 0



  Your Payment Has Been Processed
  1 message

  Credit One Bank <donotreply@creditonemaildorn>                                             Mon, Jul 13, 2020 at 5:31 PM
  Reply-To: Credit One Bank ‹support-bilrn8hgybftyu92auhtbrrnbzt56ygjw@oreditonernail.torri>
  To: ivylandry0@grneil.corn




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                  CreditOne
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                                                                      Your Payment Has Been Processed
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                       Dear IVY LANDRY,

                       Your payment of $84,95 has been processed.

                       Your reference number for this payment is 11.'1.11_2020-0000751700.




                  CreditOne
                        BANK



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                        you have any questions regarding your account.

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                        You are receiving this email because you are a Credit One Sank card member and this                       ri
                        account communication regarding your payment.

                        Yet:Jr account information is included above to verify that Credit One Bank is the sender of this email.
                        We will never ask for sensitive information such as your password, Social Security number, or account
                        number in an email. Click here to read more about account security and fraud prevention.

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                        information on our Privacy Policy or how to contact us. please visit our website at CreditOneBanlc.com.

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  Credit One Bank <donotreply@creditonernall.corn>                                          Thu, Jul .30,2020 at 12:38 PM
  Reply-To: Credit One Bank <support-b4rn8hgybftytr92auhtbrmbzt56ygjw@oreciltoneniail.corn>
  To: ivylandry0egmail.corn




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                        Dear IVY LANDRY,

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                        Important Information from. credit One Sank

                        You, are receiving this email becaUse you are a Credit One Bank card member and this is än'important
                        account cortinioniCatien regarding your payment

                        Your account information is included above to verify that Credit One Sank is the sender of this amail.
                        We will never ask for sensitive information such as your password, Social Security number, or account
                        number in an email. Click here to read more about account security and fraud prevention.

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                                   on our Privacy Policy or how to contact us, pleaSe.visit Our Website. at CreditOnellank,cont

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    Your Payment Has Been Processed
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   Credit One Bank <cionotrePly@creditonernail.com>                                                                                                             Wed, Aug 5,2020 at 7:15 AM
   Reply-To: Credit One Bank <support-b41t9wybftyu92auhtbrrnbzt56ygrnb@creditonemaii.corn>
   To: ivylandry0@grnaiLcom




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                                                 Dear WY LANDRY,

                                                 Your payment of $209.95 hes been processed.

                                                Your reference number for this payment is 05AUQ2020-0000096186:.




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  'Credit One Bank <dcinotreply4CreditoneMail.cOrn>                                                                                                         Thu, Aug 20, 2020 at 11:31 AM
   Reply-To: Credit One Bank <suppOrt-b41t9wybftyu92autittirrnbzt5Sygrnb@oreditonemail.corn>
   To: ivylandry0@gmaitcorn




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                                                Dear IVY LANDRY,

                                                Your payment of $209.95 has been processed.

                                                Your reference number for this payment is 20AUG2020-0000376411.




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  Credit One Bank <donotrepiy@creditcinemail.com>                                         Wed, Oct21,2.020 at 3:39 PM
  Reply-To: Credit One Bank .support-b4wquetybftytt92auhtbrmbzt56yg1j©creditone ail.corn>
  To: ivylandry0@9mail.corn




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                      Dear IVY La.otNIDRY,

                      Your payment of $55.00 has been processed.

                      Your reference number for this payment is 210CT2020-0000677721



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                      Do not reply directly to this automated email. Please Contact Customer Service t 1 87       5-3242 if
                      you have any questions regarding your aocetint.

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                      YOU ere receiving this email becaUse :You are a Credit Ope Bank card rnembr and this is an important
                      account communication regarding your payment"

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                       information on our Privacy Policy or how to contact us, please visit our website at CreditOneBank.com.

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  Credit One Bank <donotrepty@oreditonernall.corn>                                          Mon, Sep 2 , 2020 at 12:27 PM
  Reply-To: Credit One Bank <support-b4v7yeybftyu92aulitbrrnbzt56ygd9@creditonernall.00fit?
  To: ivylandni0@grnali.com




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                        Dear IVY LANDRY,

                        Your payment of $150-.00 has been processed.

                        Your reference number for this payment is 21SEP2020-0000392986.



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                        We will never ask for sensitive Information such as your password; *sae! Security number or account
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                        Credit One Bank is con rnitted to providing meaningful privaCy protection for our card members, For
                        Information on our Privacy Policy or how to contact us, please Visit our webSite at CreditOneBank.,Cora.

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  To: ivylardry0@gmaii.com




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                       Dear IVY LANDRY,

                       your payment of $159.95 has been processed.

                       Your reference number for this payment is 07DEC2020-000030175.




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                        you have any questions• regarding your account.

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                        account communication regarding your payment
                       Your account information IS included above to verity that Credit One Bank is the sender of this email.
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                       number in in email Click here to read more about account seourity and fraud prevention.

                        Credit One Bank is committed to providing meaningful privacy protection for our card members, For
                        information on our Privacy Policy or how to contact us, please visit our Website at CreditOneBank.com,

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                         Dear IVY LANDRY,

                         Your payment of $109.95' has been processed.

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    Credit One Bank <donotreply@creditonernail.corn>                                         Sun, Nov 15, 2020 at 3:44 PM
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    To ivylandry0@gmail.corn




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                         Dear Ivy LANDRY,

                         Your payment of $94.95 has been processed.

                         Your reference number for this payment is 15NOV2020-0000364236,




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                         Do not reply:directly to this automated email. Please contact Customer Service at 1-877L85-3242 if
                         you have any questions regarding your acCoupt.

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                          account toMmOn'tation regarding your payment

                         Your account information is included above .to verify that Credit One Bank is the sender of this email.
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        Reply To Credit one Bank <support-b43r04ebityu92auhtbrmbzt56ya3d@creditonemai1.com>
        To: ivylandry0@gmaii.Corn




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                                                      Der.IVY LANDRY-,

                                                      Your payment of $259.95 has been processed.

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  Credit One Bank ‹donotreply@creditonernailcorn>                                                              Wed, Jan 6,2021 at 10:57 AM
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  TO; iv ytandry0@grnail.COM




                CreditOne
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                      Dear IVY LANDRY,

                      Your payment of $150.00.na. been processed.

                      Your reference number for this Payment is 06JN\12021-0000357891.




                Or tpne

                      Do not reply directly to this automated email. Please contact Ctislorner ServiCe a 1-B774325-32421f
                      you have any questions regarding your acCount.

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                      You are receiving this email because you are a Credit One Bank .card member id this is an important .
                      account communication regarding your payment.
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                      information on our Privacy Policy or how to contact us, please visit our website at DreditOrreBank.com.

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 To: ivylandry0@gmall.corn

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                         Dear IVY LANDRY,

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                              Document     Page 34 of 36




                                 EXHIBIT B




                                                                               5
         Case 18-55697-lrc    Doc 382     Filed 05/28/21 Entered 06/01/21 09:19:12             Desc Main
                                         Document     Page 35 of 36




              IT IS ORDERED as set forth below:



               Date: December 8, 2020

                                                                             Lisa Ritchey Craig
                                                                       U,S. Bankruptcy Court Judge




                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

             IN THE MATTER OF:                              CASE NUMBER

             CASSANDRA JOHNSON             NDRY,            18-55697-LRC


                                                            IN PROCEEDINGS UNDER
                                                            CHAP Itit 7 OF THE
                   DEBTOR.                                  BANKRUPTCY CODE

                                                     ORDER

                   Before the Court is Debtor's Motion for Fraud Investigation Status Prior to

             Transferring Bankruptcy from Chapter 13 to Chapter 7 (the "Motion") (Doc. 233). The

             Motion asserts that the Chapter 13 Trustee previously assigned to Debtor's bankruptcy case

             and S. Gregory Hays (the "Trustee"), the current• Chapter 7 Trustee, have failed to

             investigate Debtor's fraud claims. When the Trustee abandoned such claims (Doc. 231)

             and Debtor objected to the abandonment (Doc. 240), the Court held a hearing to consider




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Case 18-55697-lrc        Doc 382    Filed 05/28/21 Entered 06/01/21 09:19:12             Desc Main
                                   Document     Page 36 of 36




 Debtor's objections Oa March 5, 2020(the: "Hearing"), On. April 7, 2.,00-; the Court

 entered art order overruling Debtor's objections and approving the notice of abanden ent

•(Doc: 266) (the "Order"):

        In. the Order the Court noted that •a Chapter 7 trustee is pprmitted to abandon

 property of the estate after notice and a bearing "that is burdensome to the estate or that is

 of inconsequential value and . benefit," 11 U S C § 554(a), and that such actions are.

 "discretionary," In re Blasinganie, 598 B.R. 864, 871 (13,A.P. 6th Cir.- 2019) (citing Fu E

 Nat'l Bank v. Lasater, 196 U..S. 115, 118-19, 25 S.Ct. 206, 207L08, 49 L.d. 408 (1905);

 In rc KC. Mach & Tool Co., 816 F.20 238, 246 (6th Cir. 1987)); see also Jennings v.

 Noble, 523 F. App'x.649, 650 (11th Cir. 2013) ("Under 11 U.S.C, § 554(a), the bankruptcy

 court gives deference to the business judgment of the Trustee."). The. Court further

 concluded that, under the circumstances of this case, the. Trustee relied on his business

 judgment in good fitith and conducted a .reasonable investigation before concluding that

 Debtor's various claims of fraud,..scheduled and =scheduled, lacked merit andShould

 abandoned: The Court also found that Debtor had presented ncithhig at the Heating to

 persuade the Court that the Trustee's assessment vtias. in error,

        For these same reasons, the Court finds that Debtor's Motion must be,and hereby

 is, EMED,



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